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     Jason Huffer, Petitioner  v.  RR NYE, LLC; Tyler Fey; Daniel Higgenbotham; Angela Jensen; Christian Reicheneder; Shane Reilly; Lisa Loving-Martellini; and Robert Martellini. Respondents No. 23SC917Supreme Court of Colorado, En BancJuly 22, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1283
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    